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Rachel Santori
28 Liberty Street, New York, New York 10005
T (212) 705 4855 F (347) 438 2098
rsantori@fkks.com




                                                     November 8, 2019
VIA EMAIL


Sexy Youtubers
request-takedown@sexy-youtubers.com


                    RE:     URGENT Copyright Infringement & DMCA Notice

Dear Sexy Youtubers:
         We represent SHAGMAG, INC. (“SHAGMAG”), the creator of SHAGMAG magazine.
SHAGMAG is the exclusive owner of all copyrights in the original creative works, such as
photographs, created for SHAGMAG magazine. SHAGMAG’s intellectual property is incredibly
valuable to the company.

         It recently has come to our client’s attention that material that infringes SHAGMAG’s
copyrights (the “Infringing Photos”) is available on Sexy-Youtubers.com. The Infringing Photos
are identical copies of photos created exclusively for SHAGMAG. The original photos are only
available behind the SHAGMAG paywall. Sexy-Youtubers is reproducing a material and
substantial portion of SHAGMAG without consent or authorization. This letter shall serve as
notice to Sexy-Youtubers pursuant to the Digital Millennium Copyright Act (17 U.S.C. § 512)
(“DMCA”) that SHAGMAG’s copyrights are being infringed.

         We provide the following information and statements relevant for this request under the
DMCA:

    •    I am authorized to act on behalf of SHAGMAG, the owner of all copyrights in the
         Infringing Photos. My signature is below.

    •    The copyrights at issue are SHAGMAG’s copyrights in the Infringing Photos.

    •    The infringing material, posted without the consent or authorization of SHAGMAG, is
         available on Sexy-Youtubers.com at the following links:
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           o   https://www.sexy-youtubers.com/?s=shagmag

           o   https://www.sexy-youtubers.com/julia-rose-alexis-clark-october-shagmag/

           o   https://www.sexy-youtubers.com/julia-rose-september-shagmag/

           o   https://www.sexy-youtubers.com/julia-rose-august-shagmag/

           o   https://www.sexy-youtubers.com/julia-rose-sarah-mcdaniel-nude/

   •   I have a good-faith belief that the disputed use is not authorized by SHAGMAG, its agent
       or the law.

   •   My address, email and telephone number are:

       28 Liberty Street, New York, NY 10005, (212)-705-4855, rsantori@fkks.com

   •   I swear, under penalty of perjury, that the information in this notification is accurate and
       that I am authorized to act on behalf of the owner of an exclusive right that allegedly is
       infringed.

       We are seeking your immediate assistance in stopping the unauthorized and infringing
activity described above. Specifically, we request that within 12 hours of receipt of this letter,
you remove or disable access to the Infringing Photos.

       This letter is not an exhaustive statement of SHAGMAG’s legal position and is without
prejudice to SHAGMAG’s rights in this matter, both legal and equitable, all of which are
expressly reserved.

                                                     Very truly yours,




                                                     Rachel Santori
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Rachel Santori
28 Liberty Street, New York, New York 10005
T (212) 705 4855 F (347) 438 2098
rsantori@fkks.com




                                                     November 8, 2019
VIA FEDERAL EXPRESS AND EMAIL


Justin Paine
Cloudflare
101 Townsend Street
Legal Department
San Francisco, CA 94107
Email: abuse@cloudflare.com


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authorization. This letter shall serve as notice to Cloudflare pursuant to the Digital Millennium
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           o   https://www.sexy-youtubers.com/julia-rose-alexis-clark-october-shagmag/

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                                                     Rachel Santori
